
DAUKSCH, Judge.
This is an appeal from convictions for delivery, possession and conspiracy to deliver cocaine. There is ample evidence to support the convictions for sale and possession. There is inadequate evidence to support the conspiracy conviction. The conspiracy statute says:
Whoever agrees, conspires, combines, or confederates with another person or *1021persons to commit any offense commits the offense of criminal conspiracy ...
The state proved that an informant walked up to Burley and asked him if he was selling cocaine. He said no and took him to Gray. The informant handed money to Burley who handed it to Gray who handed cocaine to Burley who handed it to the informant. Gray and Burley were then arrested. There was no proof of any prearrangement, any prior discussions or plans or anything else done in preparation for the above events. No proof they conspired together to commit the crime or did anything other than engage in the one transaction.
This absence of proof requires that this court reverse the judgment of conviction for conspiracy.
AFFIRMED in part; REVERSED in part.
SHARP, C.J., and ORFINGER, J., concur.
